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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------- X
                                        :
FARRAKHAN et al.,                       :
                         Plaintiffs,    :
                                        :               23cv9110 (DLC)
               -v-                      :
                                        :                 OPINION AND
ANTI-DEFAMATION LEAGUE, et al.,         :                    ORDER
                                        :
                         Defendants.    :
                                        :
--------------------------------------- X

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DENISE COTE, District Judge:

     Plaintiffs Louis Farrakhan and Nation of Islam (“NOI”)

brought suit against the Anti-Defamation League (“ADL”), its CEO

Jonathan Greenblatt, the Samuel Wiesenthal Center (“SWC”), and

Abraham Cooper, SWC’s Associate Dean & Global Social Action

Director.   Plaintiffs allege defamation and, against the ADL, a

variety of First Amendment violations.        Defendants have moved to

dismiss the plaintiffs’ Second Amended Complaint (“SAC”).              For

the following reasons, the motions are granted.


                               Background

     On January 4, 2024, plaintiffs filed the 150-page SAC,

along with 672 pages of exhibits.      The SAC, which details nearly

a century’s worth of grievances, alleges several instances of

defamation and, as against the ADL, various violations of the

plaintiffs’ First Amendment rights.        At their core, plaintiffs’

claims are that by repeatedly referring to plaintiffs as

antisemitic, defendants have defamed them and created a chilling

effect on their religious practices.        Plaintiffs seek $4.8

billion in damages as well as a declaratory judgment that the

term “anti-Semite” is defamatory per se and that the ADL is a

quasi-governmental actor that violated plaintiffs’ First

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Amendment rights.   Plaintiffs also seek to enjoin defendants

from calling them antisemitic or taking any steps to urge third

parties to disassociate with them.

     The First Amendment claims allege that the ADL has taken

steps to censor plaintiffs, including by pressuring Ticketmaster

in a 2023 open letter not to sell tickets for NOI’s yearly

Savior’s Day event, and by causing Morgan State University in

2023 to refuse NOI’s request to use its facilities as a venue

for an NOI event.   Plaintiffs also allege that the ADL’s work

with various governmental actors to combat antisemitism has had

a chilling effect on NOI, its members, and its prospective

members, including by making NOI less willing to hold events in

New York and its members less willing to sell NOI’s religious

newspaper or wear identifiable garments in public.

     The defamation claims are centered around the 2023

Ticketmaster open letter and several blog posts and articles

posted to the ADL and SWC websites in 2022 and 2023.             The

defamation claims against the ADL and Greenblatt relate to three

written communications, two of which concern NOI’s annual

Saviour’s Day conference held in February 2023.             The claims

against SWC and Cooper relate to an article about the Saviour’s

Day conference posted on the SWC website in March 2023.




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          1.    October 2022 Blog Post

     The earliest ADL communication at issue is a blog post

published on the ADL’s website on October 20, 2022.              The post is

largely about the rapper Kanye West and his public statements,

but it also refers to the “virulently antisemitic Nation of

Islam and its leader, Louis Farrakhan.”

          2.    Open Letter to Ticketmaster Before February 2023
                NOI Event

     The next ADL communication is an open letter to the CEO of

Ticketmaster signed by Greenblatt as CEO and National Director

of the ADL (“Ticketmaster Letter”).        The Ticketmaster Letter was

published on ADL’s website on February 9, 2023, prior to the

February 26 Savior’s Day conference.        The letter stated that the

ADL was “not requesting any particular action from

[Ticketmaster] as it relates to your commercial activities” but

“would like to make you aware of Farrakhan’s past behavior and

statements.”

     The Ticketmaster Letter referred to Farrakhan as “one of

the most notorious antisemites in the country.”              It also

contained several direct quotes from Farrakhan’s prior Savior’s

Day speeches, including, inter alia, his 2019 statement that

“[p]edophilia and sexual perversion institutionalized in

Hollywood and the entertainment industries can be traced to

Talmudic principles and Jewish influence”; his 2017 statement


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that “[t]hose who call themselves ‘Jews,’ who are not really

Jews, but are in fact Satan.     You should learn to call them by

their real name: ‘Satan’”; and his 1996 statement that “[y]ou

are not real Jews . . . . You are the synagogue of Satan, and

you have wrapped your tentacles around the U.S. government.”

Farrakhan does not challenge the accuracy of the direct quotes

but instead challenges the portions of the Letter that refer to

Farrakhan as an antisemite and state that Farrakhan has referred

to “Jews as ‘termites’ and ‘satanic.’”

             3.   February 2023 Blog Post

     The next communication is a February 27, 2023 blog post

published on the ADL website after the February 26 Savior’s Day

conference with the title “Farrakhan Predicts Another Holocaust,

Espouses Antisemitism and Bigotry in Saviours’ Day Speech.”                 The

post included direct quotes from the speech, such as “[t]he

Synagogue of Satan has destroyed the country,” as well as the

following:

     A Jewish man said to me, ‘You know, we say never
     again. Never again will we be in the oven. Never
     again.’ I said, ‘Hold it.’ You can say that to men,
     but you can’t say that to God. Because the Bible
     says, behold the day cometh that shall burn -- as a
     what? -- as an oven.

Again, Farrakhan does not challenge the accuracy of the direct

quotes but rather the headline’s statement that “Farrakhan

Predicts Another Holocaust.”


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              4.      March 2023 SWC Article

        The claims against SWC and Cooper involve an article

published on the SWC website on March 1, 2023 “condemning

[Farrakhan’s] anti-Semitic and anti-Judaic diatribes during the

Nation of Islam’s annual conference in Chicago.”                Farrakhan

challenges two statements in the SWC article: first, that

“Farrakhan invoked the New Testament’s ‘Synagogue of Satan’ to

demonize Judaism and those who revere the Torah,” and second,

that SWC has “tracked and denounced Farrakhan and his . . .

antisemitic incitement for four decades.”

        Plaintiffs filed their initial complaint, which was 76

pages long and contained 504 pages of exhibits, on October 16,

2023.     On November 2, plaintiffs filed a 90-page amended

complaint, along with 611 pages of exhibits.             On December 12,

2023, the defendants moved to dismiss the First Amended

Complaint.         In response, the plaintiffs filed the 150-page SAC,

and its 672 pages of exhibits, on January 5, 2024. 1              On January

19, the ADL defendants moved to dismiss the SAC pursuant to Fed.

R. Civ. P. 8, 12(b)(1), and 12(b)(6).           The SWC defendants moved

to dismiss claims 8 to 10 of the SAC on the same day.                The

motions were fully submitted on February 9, 2024.



1 An Order of December 13, 2023 informed the plaintiffs that it
was “unlikely” that they would have a further opportunity to
amend.
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                               Discussion

     The defendants have moved to dismiss on several grounds:

the prolixity of the SAC, the plaintiffs’ lack of standing to

bring claims 1 to 5, and the failure to state a claim with

respect to any of the claims.      This Opinion addresses

defendants’ arguments in that order.

I.   Fed. R. Civ. P. 8

     The ADL’s motion to dismiss the complaint pursuant to Fed.

R. Civ. P. 8 (“Rule 8”) is denied.          The ADL argues that the SAC

violates Rule 8(d)’s requirement that a complaint be “simple,

concise, and direct,” and Rule 8(a)’s requirement that the

statement of a plaintiff’s claims be “short and plain.”

     The SAC is unnecessarily voluminous and at times difficult

to follow.   “Unnecessary prolixity in a pleading places an

unjustified burden on the court and the party who must respond

to it because they are forced to select the relevant material

from a mass of verbiage.”      Salahuddin v. Cuomo, 861 F.2d 40, 42

(2d Cir. 1988) (citation omitted).          “Dismissal, however, is

usually reserved for those cases in which the complaint is so

confused, ambiguous, vague, or otherwise unintelligible that its

true substance, if any, is well disguised.”            Id.     Even though

challenging, it is possible to comprehend the allegations and

relief sought in the SAC; thus, the Court declines to dismiss

the SAC on this basis.

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II.   Standing

      The ADL argues that six claims -- claims 1 to 5 and 11 --

should be dismissed pursuant to Rule 12(b)(1) because plaintiffs

allege no injury-in-fact in relation to those claims and

therefore lack Article III standing.         In these claims, the

plaintiffs assert that the ADL is a federal and state actor that

has violated the First and Fourteenth Amendments of the United

States Constitution.      Plaintiffs have not alleged sufficient

facts to support standing for claims 1 to 5.2           They are thus

dismissed without prejudice.       See Clementine Company, LLC v.

Adams, 74 F.4th 77, 90 n.4 (2d Cir. 2023) (noting that

dismissals for lack of Article III standing must be without

prejudice).

      Article III standing is “always an antecedent question,

such that a court cannot resolve contested questions of law when

its jurisdiction is in doubt.”       Do No Harm v. Pfizer Inc., 96

F.4th 106, 120-121 (2d Cir. 2024) (citation omitted).              Further,

“[a]s with any other matter on which the plaintiff bears the

burden of proof, each element of standing must be supported with

the manner and degree of evidence required at the successive

stages of the litigation.”       Id. at 114 (citation omitted).




2 Claim 11 is a request for declaratory judgment and is addressed
infra.
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        Where, as here, the defendants move to dismiss a complaint

based on a “facial” challenge to the plaintiffs’ standing

(meaning that the defendants do not offer any evidence of their

own), the court must “determine whether, accepting as true all

material factual allegations of the complaint, and drawing all

reasonable inferences in favor of the plaintiffs, the complaint

alleges facts that affirmatively and plausibly suggest that the

plaintiffs have standing to sue.”                          N e w Y o r k v . Y e l l e n , 1 5 F . 4 th

569, 575 (2d Cir. 2021) (citation omitted).                                  At the pleading

stage, “general factual allegations of injury resulting from the

defendant’s conduct may suffice, for on a motion to dismiss” the

court presumes “that general allegations embrace those specific

facts that are necessary to support the claim.”                                      New England

Carpenters Guaranteed Annuity and Pension Funds v. DeCarlo, 80

F . 4 th 1 5 8 , 1 8 0 ( 2 d C i r . 2 0 2 3 ) ( c i t a t i o n o m i t t e d ) .    Finally, a

plaintiff must demonstrate standing for each claim and form of

relief sought.             TransUnion LLC v. Ramirez, 594 U.S. 413, 431

(2021).

        To establish standing, a plaintiff must show that

        (1) they suffered an injury in fact that is (a)
        concrete and particularized and (b) actual or
        imminent, as opposed to conjectural or hypothetical;
        (2) there is a causal connection between the injury
        and the conduct complained of; and (3) it is likely,
        as opposed to merely speculative, that the injury will
        be redressed by a favorable decision.



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Do No Harm, 96 F.4th at 113 (citation omitted).                                  An injury is

“concrete” if it is “real, and not abstract.”                                 Soule v.

C o n n e c t i c u t A s s o c . o f S c h o o l s , I n c . , 9 0 F . 4 th 3 4 , 4 5 ( 2 d C i r .

2023) (citation omitted).                    An injury is “actual or imminent” if

it has actually happened or is “certainly impending.”                                      Id.

(citation omitted).

        The “causal connection” element of standing, which is also

described as “the requirement that the plaintiff’s injury be

fairly traceable to the challenged action of the defendant, and

not the result of the independent action of some third party not

before the court, does not create an onerous standard.”                                        Atares

Bais Yaakov Academy of Rockland v. Town of Clarkstown, 88 F.4th

344, 352-353 (2d Cir. 2023) (“ABY Academy”).                                “It requires no

more than de facto causality.”                       Id. at 353.           It does not require

that the plaintiff plead facts to support an inference of

proximate causation.                Id.

        Finally, “[t]o satisfy the redressability element of

Article III standing, a plaintiff must show that it is likely,

as opposed to merely speculative, that the alleged injury will

be redressed by a favorable decision.”                            S o u l e , 9 0 F . 4 th a t 4 7

(citation omitted).                A plaintiff need not show that a favorable

decision will relieve their every injury.                              American Cruise Lines

v . U n i t e d S t a t e s , 9 6 F . 4 th 2 8 3 , 2 8 6 ( 2 d C i r . 2 0 2 4 ) .     A remedy



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“that would serve to eliminate any effects of the alleged

violation that produced the injury is sufficient.”             Id.

(citation omitted).

     A.   Claim 1

     The defendants contend that Claim 1 fails to allege an

injury fairly traceable to ADL.          Claim 1 relates to Morgan State

University’s (“MSU”) denial of Farrakhan’s application to speak

at its Fine Arts Center in 2023.          The SAC alleges, “[u]pon

information and belief,” that after MSU allowed Farrakhan to

speak at the Fine Arts Center in 2014, ADL “either put pressure

on the administration, or threatened to lobby against funding

for Morgan State, if the administration allowed Minister

Farrakhan to associate and peaceably assemble” with the

University’s students.       The SAC further alleges that ADL “used

its power and authority derived from its close association with

the federal government and caused Morgan State to reject the

application” in 2023.    In support of that theory, Farrakhan

points to the Ticketmaster Letter and a 1994 ADL report that

stated in relevant part that “[w]hat [ADL] can and should do is

impose an obligation on those who deal with [Farrakhan], or, in

the case of universities, give him a platform.”

     The SAC alleges “[i]n the alternative” that MSU rejected

the 2023 application “because of the relentless



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misrepresentation of Minister Farrakhan by Defendant ADL as

being, among other things, ‘antisemitic.’”         In other words, the

ADL’s “years of falsely labeling Minister Farrakhan as ‘anti-

Semitic’ injured him in that it impaired his reputation to the

degree that it caused the administration of Morgan State to not

allow him to speak on its campus.”

     The SAC fails to plead that the plaintiffs’ injury from

MSU’s 2023 refusal of its forum is fairly traceable to the ADL.

Although the pleading standard for causation is not onerous, it

requires allegations that support a finding of de facto

causality.     The SAC’s reliance on the ADL’s years of advocacy

does not suffice to meet this standard.        If standing were found

to be present here, then the plaintiffs would have standing to

sue the ADL for virtually any refusal by a third party to

conduct business with the plaintiffs.

     B.      Claim 2

     The defendants assert that Claim 2 fails to allege a

concrete and actual injury.     Claim 2 alleges that by “actively

assisting” in the development of the Biden administration’s

“U.S. National Strategy to Counter Antisemitism,” which

President Biden signed on May 25, 2023, the ADL “as a federal

actor in concert with the federal government, has engaged in

actions that infringe[] upon Minister Farrakhan’s First



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Amendment right to free exercise of religion.”             The claim

alleges that the “National Strategy will, on one hand, provide

the legal justification to officially facilitate the continued

infringement upon the free exercise of Minister Farrakhan’s

religion or, on the other hand, provide the legal justification

to facilitate the imminent arrest, prosecution, and likely

imprisonment of Minister Farrakhan.”

       Claim 2 fails to plead an injury in fact that is concrete

and particularized.       Moreover, nothing in the voluminous SAC

comes close to demonstrating that the alleged threat of

prosecution of Farrakhan is “actual or imminent, as opposed to

conjectural or hypothetical.”         Do No Harm v. Pfizer, 96 F.4th at

113.     It is noteworthy that the White House strategy document,

which is attached as an exhibit to the SAC, states that it “does

not purport to alter or preempt existing statutes, regulations,

policies, or the requirements of the Federal, state, or local

agencies that enforce them.”         Accordingly, the plaintiffs do not

have standing to claim that the ADL has violated its rights by

assisting the federal government in its development of the

National Strategy.

       C.    Claim 3

       The defendants contend that Claim 3 fails to allege an

injury fairly traceable to the ADL.           Claim 3 alleges that Vimeo,



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an online video streaming service, cancelled NOI’s user account

due to violations of Vimeo’s Terms of Service and Community

Guidelines, including Vimeo’s policies against sharing videos

that are “hateful, harass others, or include defamatory or

discriminatory speech.”      Vimeo’s cancellation notice included a

hyperlink to an ADL article titled “Farrakhan Remains Most

Popular Antisemite in America.”         Claim 3 alleges that ADL “used

its authority and sanctioning by the FBI to cause ‘Vimeo’ to

cancel” its account.    Claim 3 seeks monetary damages and an

injunction preventing ADL from “seeking to interfere with the

Nation of Islam’s relationships with other social media

platforms by having said platforms cancel Nation of Islam

accounts.”

     While the plaintiffs have alleged an injury inflicted by a

third party that is concrete, they have failed to plead that

this injury is causally connected to ADL’s advocacy.             While the

pleading of causation requires no more than allegations of de

facto causality, mere citation by a third party to ADL’s general

advocacy is insufficient.     Any other finding would give the

plaintiffs standing to sue ADL whenever a third party injures

the plaintiffs and refers to the ADL’s publications to justify

its decision.   The law of standing requires more linkage between

a defendant’s activities and a plaintiff’s injury.



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     D.   Claims 4 and 5

     The ADL contends that Claims 4 and 5 must be dismissed

because these claims do not plead an injury in fact or any

causal link between its advocacy and any injury.            Claims 4 and 5

allege that the ADL acted under color of state law to violate

NOI’s free exercise and freedom of association rights.            The

actions allegedly taken by ADL under color of state law are 1)

transmitting data on hate and bias incidents to the New York

State Division of Human Rights; 2) training the New York State

Police in conducting hate crime investigations; and 3) serving

as “the primary agent used by the State of New York to

coordinate, implement, and oversee state departments and

agencies in furtherance of their implementation of Defendant

ADL’s National Strategy to combat ‘antisemitism.’”            At its core,

the allegation is that because 1) the ADL’s definition of

antisemitism has been officially adopted by the State of New

York; 2) the ADL transmits information on “hate and bias

incident[s]” to state actors; and 3) New York City and State

officials have indicated an intention to prosecute hate crimes,

NOI and its members face possible law enforcement sanctions that

create a chilling effect on their rights of free exercise and

association and cause reputational harm.




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     Claim 4 alleges three injuries to NOI: reputational harm,

the threat of sanctions by the City of New York, and a chilling

effect on NOI’s desire to hold national events in New York.

Claim 5 alleges possible “disassociation” of members due to

impairment of reputation, a chilling effect on association with

non-members, and the chilling effect of being targets of ADL

surveillance.

     None of the alleged injuries are cognizable.           The threat of

sanctions is, as with Claim 2, entirely speculative and thus not

a sufficient basis for standing.        As for the alleged chilling

effect on NOI’s desire to hold national events in New York,

“[s]uch ‘some day’ intentions -- without any description of

concrete plans, or indeed even any specification of when the

some day will be -- do not support a finding of the ‘actual or

imminent’ injury” that standing requires.         Lujan v. Defenders of

Wildlife, 504 U.S. 555, 564 (1992).        Further, a

     chilling effect arising merely from the individual’s
     knowledge that a governmental agency was engaged in
     certain activities or from the individual’s
     concomitant fear that, armed with the fruits of those
     activities, the agency might in the future take some
     other and additional action detrimental to that
     individual

is not “an adequate substitute for a claim of specific present

objective harm or a threat of specific future harm.”            Clapper v.

Amnesty Intern. USA, 568 U.S. 398, 418 (2013) (citation

omitted).
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     Moreover, the reputational harm alleged in this claim does

not suffice for standing purposes.         The SAC alleges that ADL’s

“historical and contemporary actions of spying on and

surveilling the Nation of Islam, coupled with its ‘partner[ship]

with the City of New York to guide its law enforcement

departments in the apprehension and prosecution of people it

determines [are] using ‘hate,’ serve[] to diminish the Nation of

Islam’s reputation in the community.”         In other words, the

alleged reputational harm will occur only if NOI or its members

commit and are then prosecuted for hate crimes.              Because the

injury alleged relies on speculative future actions by

plaintiffs themselves along with New York State and City

officials, it is not the “predictable effect” of ADL’s own

conduct.   ABY Academy, 88 F.4th at 352 (citation omitted).

     Claims 4 and 5 also allege injuries as to NOI’s members.

But “an organization does not have standing to assert the rights

of its members in a case brought under 42 U.S.C. § 1983,”

because the rights secured by § 1983 are “personal to those

purportedly injured.”    Nnebe v. Daus, 644 F.3d 147, 156 (2d Cir.

2011) (citation omitted).

III. 12(b)(6)

     The ADL defendants moved to dismiss claims 6, 7, 10, and 11

pursuant to Fed. R. Civ. P. 12(b)(6), arguing that plaintiffs

have failed to state a claim.      The SWC defendants moved to
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dismiss the claims against them, claims 8 to 10, for the same

reason.     Defendants are correct.        Plaintiffs have failed to

state any claim upon which relief can be granted.

     Under Rule 12(b)(6), a party “must plead enough facts to

state a claim to relief that is plausible on its face.”                Green

v. Dep't of Educ. of N.Y., 16 F.4th 1070, 1076-77 (2d Cir. 2021)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

“A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct

alleged.”     Vengalattore v. Cornell Univ., 36 F.4th 87, 102 (2d

Cir. 2022) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)).     “In determining if a claim is sufficiently plausible

to withstand dismissal,” a court “accept[s] all factual

allegations as true” and “draw[s] all reasonable inferences in

favor of the plaintiffs.”        Melendez v. City of New York, 16

F.4th 992, 1010 (2d Cir. 2021) (citation omitted).

     A.      Defamation Claims

     Farrakhan brings four claims for defamation based on eight

challenged statements contained in four communications.

Defendants argue that the challenged statements constitute non-

actionable opinions and that Farrakhan has not pled actual

malice.     They are correct.



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        The elements of a cause of action for defamation under New

York law are

        1) a written defamatory statement of fact concerning
        the plaintiffs; 2) publication to a third party; 3)
        fault (either negligence or actual malice depending on
        the status of the libeled party); 4) falsity of the
        defamatory statement; and 5) special damages or per se
        actionability (defamatory on its face).

Electra v. 59 Murray Enterprises, Inc., 987 F.3d 233, 259 (2d

Cir. 2021) (citation omitted).3

        Farrakhan does not dispute that he is a public figure.                                          As

such, he must show that the statements were made with “‘actual

malice’ -- that is, with knowledge that the statements were

false or with reckless disregard as to their falsity.”                                          Biro v.

Conde Nast, 807 F.3d 541, 544 (2d Cir. 2015).                                   At the motion to

dismiss stage, a plaintiff must “plead ‘plausible grounds’ to

infer actual malice by alleging ‘enough facts to raise a

reasonable expectation that discovery will reveal evidence of’

actual malice.”              Id. at 546 (citation omitted).

        Because falsity of the challenged statement is an element

of the cause of action, “statements that do not purport to

convey facts about the plaintiff, but rather express certain



3  Defendants cite New York law in their briefing. Plaintiffs do
not dispute that New York law applies to this action. “[W]here
the parties agree that [New York] law controls, this is
sufficient to establish choice of law.” Insurance Company o the
S t a t e o f P e n n s y l v a n i a v . E q u i t a s I n s u r a n c e L i m i t e d , 6 8 F . 4 th 7 7 4 ,
779 n.2 (2d Cir. 2023).
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kinds of opinions of the speaker, do not constitute defamation.”

Elias v. Rolling Stone LLC, 872 F.3d 97, 110 (2d Cir. 2017)

(citation omitted) (emphasis in original).           In discerning

whether a statement is one of fact or opinion under New York

law, courts consider a non-exclusive list of factors that

includes

      (1) whether the specific language in issue has a
      precise meaning which is readily understood; (2)
      whether the statements are capable of being proven
      true or false; and (3) whether the full context of the
      communication in which the statement appears or the
      broader social context and surrounding circumstances
      are such as to signal to readers that what is being
      read or heard is likely to be opinion, not fact.

Id.   (citation omitted).

      Even where a challenged statement contains an opinion,

there is an “important distinction between a statement of

opinion that implies a basis in facts which are not disclosed to

the reader or listener and a statement of opinion that is

accompanied by a recitation of the facts on which it is based or

one that does not imply the existence of undisclosed underlying

facts.”    Id. at 110-111 (citation omitted).         Thus, although an

“expression of pure opinion is not actionable, a statement of

opinion that implies that it is based upon facts which justify

the opinion but are unknown to those reading or hearing it, is a

‘mixed opinion’ and is actionable.”          Stega v. New York Downtown

Hospital, 31 N.Y.3d 661, 674 (2018) (citation omitted).


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          1.    Non-Actionable Opinion

     The challenged statements referring to Farrakhan as

antisemitic are non-actionable statements of opinion.            The

communications in which they were published contain “a

recitation of the facts on which [they are] based” -- namely,

direct quotes from Farrakhan.      See Elias, 872 F.3d at 110-111

(citation omitted).    Thus, the statements calling Farrakhan

antisemitic cannot be “reasonably understood as implying the

assertion of undisclosed facts justifying the opinion.”             Celle

v. Filipino Reporter Enterprises, Inc., 209 F.3d 163, 178 (2d

Cir. 2000) (citation omitted).

     The challenged ADL blog post title (“Farrakhan Predicts

Another Holocaust”) appears at first blush to be a statement

“capable of being proven true or false,” Elias, 872 F.3d at 110

(citation omitted), but “the full context of the communication

in which the statement appears [and] the broader social context

and surrounding circumstances are such as to signal” to readers

that what is being read “is likely to be opinion, not fact.”

Id. (citation omitted).      The full title of the post, and its

lede, indicate that its subject is the Savior’s Day speech.                 The

post contains direct quotes from that speech, including one that

could be fairly interpreted as a reference to the Holocaust.

The full context of the communication indicates that its title



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is an interpretation of the facts disclosed within the article.

See id. at 111.     The same is true for the statement in the SWC

article that Farrakhan “invoked the New Testament’s ‘Synagogue

of Satan’ to demonize Judaism.”

          2.      Statements of Fact

     The portion of the Ticketmaster Letter that implies

Farrakhan has referred to “Jews as ‘termites’ and ‘satanic’”

does have “a precise meaning which is readily understood.”

Elias, 872 F.3d at 110 (citation omitted).         It is either true or

false that Farrakhan has said so.       For these statements,

however, Farrakhan has not alleged facts allowing a reasonable

inference of either falsity or actual malice.

     As to the implication that Farrakhan has referred to Jews

as satanic, the Ticketmaster Letter ends with the hyperlinked

statement that “[y]ou can learn more about Louis Farrakhan and

the Nation of Islam on our website.”       The words “Louis

Farrakhan” are hyperlinked; clicking the link leads to a webpage

on which further direct quotes from Farrakhan are listed and

which is itself attached as an exhibit to the SAC.           Several of

those direct quote include Farrakhan’s use of the phrase

“satanic Jews.”     Thus, as to this challenged statement,

Farrakhan has failed to allege falsity, an essential element of

a defamation claim.



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      Finally, the SAC has not pled a defamation claim regarding

Farrakhan’s use of the word termites.         As the SAC concedes,

Farrakhan has stated the following: “When they talk about

Farrakhan, call me a hater, you know how they do -- call me an

anti-Semite.     Stop it, I’m anti-termite!”        Again, Farrakhan has

not pled facts that would “raise a reasonable expectation that

discovery will reveal evidence” that Greenblatt or the ADL made

the statement with knowledge of or reckless disregard as to the

statement’s falsity.      Biro, 807 F.3d at 546 (citation omitted).

To the contrary, the SAC itself alleges facts that would dispel

any such expectation.

      Thus, Farrakhan has not stated a defamation claim as to any

of the challenged statements.        The defamation claims are

dismissed pursuant to Rule 12(b)(6).

IV.   Declaratory and Injunctive Relief

      The claims for declaratory and injunctive relief fare no

better.    Claim 11 seeks a declaratory judgment that the ADL is a

“quasi-governmental entity of the federal government.”              Claim 10

seeks a declaratory judgment that the term “antisemite” and its

variations are defamatory per se.         Plaintiffs also seek an

injunction precluding defendants from calling plaintiffs

antisemites.

      District courts have “broad discretion to decline

jurisdiction” under the Declaratory Judgment Act (“DJA”).
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Admiral Insurance Company v. Niagara Transformer Corporation, 57

F . 4 th 8 5 , 1 0 0 ( 2 d C i r . 2 0 2 3 ) ( c i t a t i o n o m i t t e d ) ; s e e 2 8 U . S . C . §

2201(a).        This is so “even in circumstances when a declaratory

judgment would serve a useful purpose in clarifying and setting

the legal relations in issue or terminate and afford relief from

the uncertainty, insecurity, and controversy giving rise to the

proceeding.”           Id. at 99 (citation omitted).

        Here, the requested declaratory judgments would not serve a

useful purpose.             The plaintiffs lack standing on each claim that

relies on the theory that the ADL is a federal actor, and

plaintiffs have not stated a claim for defamation regarding any

of the challenged statements.                      As such, a declaratory judgment

would not clarify any of the legal relations in issue.                                      The

Court therefore declines to exercise jurisdiction over claims 10

and 11.

        Finally, enjoining defendants from expressing their beliefs

regarding plaintiffs would amount to a “judicial order that

suppresses speech . . . on the basis of the speech’s content and

in advance of its actual expression” -- in other words, a prior

restraint on speech.                United States v. Farooq, 58 F.4th 687, 695

(2d Cir. 2023).             There is a “heavy presumption against the

constitutional validity of any imposition of a prior restraint.”

Id. (citation omitted).                  Prior restraints constitute “the most



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